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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

 INTERNATIONAL BUSINESS MACHINES                            )
 CORPORATION,                                               )
                                                            )
                              Plaintiff,                    )    C.A. No. 16-122-LPS-CJB
                                                            )
           v.                                               )    JURY TRIAL DEMANDED
                                                            )
 GROUPON, INC.                                              )
                                                            )
                              Defendant.                    )

                              JOINT PROPOSED SCHEDULING ORDER

          This _____ day of _____________, 2016, the Court having conducted a Case Management

Conference/Rule 16 scheduling and planning conference pursuant to Local Rule 16.2(a) and Judge

Stark’s        Revised     Procedures      for   Managing       Patent     Cases   (which   is   posted   at

http://www.ded.uscourts.gov,; see Chambers, Judge Leonard P. Stark, Patent Cases) on

_____________________, 2016, and the parties having determined after discussion that the matter

cannot be resolved at this juncture by settlement, voluntary mediation, or binding arbitration;

          IT IS HEREBY ORDERED that:

          1.       Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. Unless

otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

Federal Rule of Civil Procedure 26(a)(1) within ten (10) days of the date of this Order. If they have

not already done so, the parties are to review the Court’s Default Standard for Discovery, Including

Discovery        of      Electronically    Stored   Information          (“ESI”)   (which   is   posted   at

http://www.ded.uscourts.gov; see Other Resources, Default Standards for Discovery, and is

incorporated herein by reference).
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       2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings, shall be filed on or before March 24, 2017.

       3.      Application to Court for Protective Order. Should counsel find it will be necessary

to apply to the Court for a protective order specifying terms and conditions for the disclosure of

confidential information, counsel should confer and attempt to reach an agreement on a proposed

form of order and submit it to the Court within ten (10) days from the date of this Order. Should

counsel be unable to reach an agreement on a proposed form of order, counsel must follow the

provisions of Paragraph 8(g) below.

       Any proposed protective order must include the following paragraph:

                       Other Proceedings. By entering this order and
                       limiting the disclosure of information in this case,
                       the Court does not intend to preclude another court
                       from finding that information may be relevant and
                       subject to disclosure in another case. Any person or
                       party subject to this order who becomes subject to
                       a motion to disclose another party’s information
                       designated “confidential” [the parties should list
                       any other level of designation, such as “highly
                       confidential,” which may be provided for in the
                       protective order] pursuant to this order shall
                       promptly notify that party of the motion so that the
                       party may have an opportunity to appear and be
                       heard on whether that information should be
                       disclosed.

       4.      Papers Filed Under Seal. In accordance with section G of the Administrative

Procedures Governing Filing and Service by Electronic Means, a redacted version of any sealed

document shall be filed electronically within seven (7) days of the filing of the sealed document.

       Should any party intend to request to seal or redact all or any portion of a transcript of a

court proceeding (including a teleconference), such party should expressly note that intent at the

start of the court proceeding. Should the party subsequently choose to make a request for sealing

or redaction, it must, promptly after the completion of the transcript, file with the Court a motion


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for sealing/redaction, and include as attachments (1) a copy of the complete transcript highlighted

so the Court can easily identify and read the text proposed to be sealed/redacted, and (2) a copy of

the proposed redacted/sealed transcript. With their request, the party seeking redactions must

demonstrate why there is good cause for the redactions and why disclosure of the redacted material

would work a clearly defined and serious injury to the party seeking redaction.

       5.      Courtesy Copies. Other than with respect to “discovery matters,” which are

governed by paragraph 8(g), and the final pretrial order, which is governed by paragraph 20, the

parties shall provide to the Court two (2) courtesy copies of all briefs and one (1) courtesy copy of

any other document filed in support of any briefs (i.e., appendices, exhibits, declarations, affidavits

etc.). This provision also applies to papers filed under seal.

       6.      ADR Process. This matter is referred to a magistrate judge to explore the possibility

of alternative dispute resolution.

       7.      Disclosures. Absent agreement among the parties, and approval of the Court:

               a.       By October 7, 2016, Plaintiff shall identify the accused product(s),

including accused methods and systems, and its damages model, as well as the asserted patent(s)

that the accused product(s) allegedly infringe(s). Plaintiff shall also produce the file history for

each asserted patent.

               b.       By November 7, 2016, Defendant shall produce core technical documents

related to the accused product(s), sufficient to show how the accused product(s) work(s), including

but not limited to non-publicly available operation manuals, product literature, schematics, and

specifications. Defendant shall also produce sales figures for the accused product(s).

               c.       By December 23, 2016, Plaintiff shall produce an initial claim chart relating

each known accused product to the asserted claims each such product allegedly infringes.




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               d.      By February 3, 2017, Defendant shall produce its initial invalidity

contentions for each asserted claim, as well as the known related invalidating references.

               e.      By July 28, 2017, Plaintiff shall provide final infringement contentions.

               f.      By August 28, 2017, Defendant shall provide final invalidity contentions.

       8.      Discovery. Unless otherwise ordered by the Court, the limitations on discovery set

forth in Local Rule 26.1 shall be strictly observed.

               a.      Discovery Cut Off. All fact discovery in this case shall be initiated so that

it will be completed on or before September 8, 2017. All expert discovery in this case shall be

completed on or before December 15, 2017.

               b.      Document Production. Document production shall be substantially

complete by March 24, 2017.

               c.      Requests for Admission. A maximum of 25 requests for admission are

permitted for each side.

               d.      Interrogatories.

                       i.      A   maximum       of     25   interrogatories,   including   contention

                               interrogatories, are permitted for each side.

                       ii.     The Court encourages the parties to serve and respond to contention

                               interrogatories early in the case. In the absence of agreement among

                               the parties, contention interrogatories, if filed, shall first be

                               addressed by the party with the burden of proof. The adequacy of all

                               interrogatory answers shall be judged by the level of detail each

                               party provides; i.e., the more detail a party provides, the more detail

                               a party shall receive.




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            e.    Depositions.

                  i.     Limitation on Hours for Deposition Discovery. Each side is limited

                         to a total of 80 hours of taking testimony by deposition upon oral

                         examination.

                  ii.    Location of Depositions. Any party or representative (officer,

                         director, or managing agent) of a party filing a civil action in this

                         district court must ordinarily be required, upon request, to submit to

                         a deposition at a place designated within this district. Exceptions to

                         this general rule may be made by order of the Court. A defendant

                         who becomes a counterclaimant, cross-claimant, or third-party

                         plaintiff shall be considered as having filed an action in this Court

                         for the purpose of this provision.

            f.    Disclosure of Expert Testimony.

                  i.     Expert Reports. For the party who has the initial burden of proof on

                         the subject matter, the initial Federal Rule 26(a)(2) disclosure of

                         expert testimony is due on or before September 29, 2017. The

                         supplemental disclosure to contradict or rebut evidence on the same

                         matter identified by another party is due on or before October 27,

                         2017. Reply expert reports from the party with the initial burden of

                         proof are due on or before November 17, 2017. No other expert

                         reports will be permitted without either the consent of all parties or

                         leave of the Court. Along with the submissions of the expert reports,




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                         the parties shall advise of the dates and times of their experts’

                         availability for deposition.

                  ii.    Expert Report Supplementation. The parties agree they will permit

                         expert declarations to be filed in connection with motions briefing

                         (including case-dispositive motions).

                  iii.   Objections to Expert Testimony. To the extent any objection to

                         expert testimony is made pursuant to the principles announced in

                         Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993), as

                         incorporated in Federal Rule of Evidence 702, it shall be made by

                         motion no later than the deadline for dispositive motions set forth

                         herein, unless otherwise ordered by the Court. Briefing on such

                         motions is subject to the page limits set out in connection with

                         briefing of case dispositive motions.

            g.    Discovery Matters and Disputes Relating to Protective Orders.

                  i.     Any discovery motion filed without first complying with the

                         following procedures will be denied without prejudice to renew

                         pursuant to these procedures.

                  ii.    Should counsel find, after good faith efforts – including verbal

                         communication among Delaware and Lead Counsel for all parties to

                         the dispute – that they are unable to resolve a discovery matter or a

                         dispute relating to a protective order, the parties involved in the

                         discovery matter or protective order dispute shall submit a joint

                         letter in substantially the following form:




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                         Dear Judge Stark:

                                The parties in the above-
                         referenced matter write to request the
                         scheduling of a discovery teleconference.

                                 The      following     attorneys,
                         including at least one Delaware Counsel
                         and at least one Lead Counsel per party,
                         participated in a verbal meet-and-confer
                         (in person and/or by telephone) on the
                         following date(s):
                         _______________________

                         Delaware Counsel: _________________

                         Lead Counsel: _____________________

                                 The disputes requiring judicial
                         attention are listed below:

                         [provide here a non-argumentative list of
                         disputes requiring judicial attention]

                  iii.   On a date to be set by separate order, generally not less than forty-

                         eight (48) hours prior to the conference, the party seeking relief shall

                         file with the Court a letter, not to exceed three (3) pages, outlining

                         the issues in dispute and its position on those issues. On a date to be

                         set by separate order, but generally not less than twenty-four (24)

                         hours prior to the conference, any party opposing the application for

                         relief may file a letter, not to exceed three (3) pages, outlining that

                         party’s reasons for its opposition.

                  iv.    Each party shall submit two (2) courtesy copies of its discovery

                         letter and any attachments.

                  v.     Should the Court find further briefing necessary upon conclusion of

                         the telephone conference, the Court will order it. Alternatively, the


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                               Court may choose to resolve the dispute prior to the telephone

                               conference and will, in that event, cancel the conference.

       9.      Motions to Amend.

               a.      Any motion to amend (including a motion for leave to amend) a pleading

shall NOT be accompanied by an opening brief but shall, instead, be accompanied by a letter, not

to exceed three (3) pages, describing the basis for the requested relief, and shall attach the proposed

amended pleading as well as a “blackline” comparison to the prior pleading.

               b.      Within seven (7) days after the filing of a motion in compliance with this

Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5) pages.

               c.      Within three (3) days thereafter, the moving party may file a reply letter,

not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

teleconference to address the motion to amend.

       10.     Motions to Strike.

               a.      Any motion to strike any pleading or other document shall NOT be

accompanied by an opening brief but shall, instead, be accompanied by a letter, not to exceed three

(3) pages, describing the basis for the requested relief, and shall attach the document to be stricken.

               b.      Within seven (7) days after the filing of a motion in compliance with this

Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5) pages.

               c.      Within three (3) days thereafter, the moving party may file a reply letter,

not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

teleconference to address the motion to strike.

       11.     Tutorial Describing the Technology and Matters in Issue. Unless otherwise ordered

by the Court, the parties shall provide the Court, no later than the date on which their opening




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claim construction briefs are due, a tutorial on the technology at issue. In that regard, the parties

may separately or jointly submit a DVD of not more than thirty (30) minutes. The tutorial should

focus on the technology in issue and should not be used for argument. The parties may choose to

file their tutorial(s) under seal, subject to any protective order in effect. Each party may comment,

in writing (in no more than five (5) pages) on the opposing party’s tutorial. Any such comment

shall be filed no later than the date on which the answering claim construction briefs are due. As

to the format selected, the parties should confirm the Court’s technical abilities to access the

information contained in the tutorial (currently best are “mpeg” or “quicktime”).

       12.     Claim Construction Issue Identification. On March 3, 2017, the parties shall

exchange a list of those claim term(s)/phrase(s) that they believe need construction and their

proposed claim construction of those term(s)/phrase(s). This document will not be filed with the

Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a Joint Claim

Construction Chart to be submitted on March 24, 2017. The parties’ Joint Claim Construction

Chart should identify for the Court the term(s)/phrase(s) of the claim(s) in issue, and should include

each party’s proposed construction of the disputed claim language with citation(s) only to the

intrinsic evidence in support of their respective proposed constructions. A copy of the patent(s) in

issue as well as those portions of the intrinsic record relied upon shall be submitted with this Joint

Claim Construction Chart. In this joint submission, the parties shall not provide argument.

       13.     Claim Construction Briefing. The parties shall contemporaneously submit initial

briefs on claim construction issues on April 14, 2017. The parties’ answering/responsive briefs

shall be contemporaneously submitted on May 5, 2017. No reply briefs or supplemental papers on

claim construction shall be submitted without leave of the Court. Local Rule 7.1.3(4) shall control

the page limitations for initial (opening) and responsive (answering) briefs.




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       14.     Hearing on Claim Construction. Beginning at _______ __.m. on June ____, 2017,

the Court will hear argument on claim construction. The parties shall notify the Court, by joint

letter submission, no later than the date on which their answering claim construction briefs are

due: (i) whether they request leave to present testimony at the hearing; and (ii) the amount of time

they are requesting be allocated to them for the hearing.

       Provided that the parties comply with all portions of this Scheduling Order, and any other

orders of the Court, the parties should anticipate that the Court will issue its claim construction

order within sixty (60) days of the conclusion of the claim construction hearing. If the Court is

unable to meet this goal, it will advise the parties no later than sixty (60) days after the conclusion

of the claim construction hearing.

       15.     Interim Status Report. On May 19, 2017, counsel shall submit a joint letter to the

Court with an interim report on the nature of the matters in issue and the progress of discovery to

date. Thereafter, if the Court deems it necessary, it will schedule a status conference.

       16.     Supplementation. Absent agreement among the parties, and approval of the Court,

no later than May 19, 2017 the parties must finally supplement, inter alia, the identification of all

accused products and of all invalidity references.

       17.     Case Dispositive Motions. All case dispositive motions, an opening brief, and

affidavits, if any, in support of the motion shall be served and filed on or before January 26, 2018.

Briefing will be presented pursuant to the Court’s Local Rules, as modified by this Order.

               a.      No early motions without leave. No case dispositive motion under Rule 56

may be filed more than ten (10) days before the above date without leave of the Court.

               b.      Page limits combined with Daubert motion page limits. Each party is

permitted to file as many case dispositive motions as desired; provided, however, that each SIDE




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will be limited to a combined total of 40 pages for all opening briefs, a combined total of 40 pages

for all answering briefs, and a combined total of 20 pages for all reply briefs regardless of the

number of case dispositive motions that are filed. In the event that a party files, in addition to a

case dispositive motion, a Daubert motion to exclude or preclude all or any portion of an expert’s

testimony, the total amount of pages permitted for all case dispositive and Daubert motions shall

be increased to 50 pages for all opening briefs, 50 pages for all answering briefs, and 25 pages for

all reply briefs for each SIDE.1

               c.      Hearing. The Court will hear argument on all pending case dispositive and

Daubert motions on March _____, 2018 beginning at _______ __.m. Subject to further order of

the Court, each side will be allocated a total of forty-five (45) minutes to present its argument on

all pending motions.

       18.     Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion filed with the Clerk. Any non-dispositive motion should

contain the statement required by Local Rule 7.1.1.

       19.     Pretrial Conference. On June _____, 2018, the Court will hold a pretrial conference

in Court with counsel beginning at _______ __.m. Unless otherwise ordered by the Court, the

parties should assume that filing the pretrial order satisfies the pretrial disclosure requirement of

Federal Rule of Civil Procedure 26(a)(3). The parties shall file with the Court the joint proposed

final pretrial order with the information required by the form of Revised Final Pretrial Order –

Patent, which can be found on the Court’s website (www.ded.uscourts.gov), seven days before the



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 The parties must work together to ensure that the Court receives no more than a total of 250 pages
(i.e., 50 + 50 + 25 regarding one side’s motions, and 50 + 50 + 25 regarding the other side’s
motions) of briefing on all case dispositive motions and Daubert motions that are covered by this
scheduling order and any other scheduling order entered in any related case that is proceeding on
a consolidated or coordinated pretrial schedule.


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pretrial conference. Unless otherwise ordered by the Court, the parties shall comply with the

timeframes set forth in Local Rule 16.3(d)(1)-(3) for the preparation of the joint proposed final

pretrial order.

        The parties shall provide the Court two (2) courtesy copies of the joint proposed final

pretrial order and all attachments.

        As noted in the Revised Final Pretrial Order – Patent, the parties shall include in their joint

proposed final pretrial order, among other things:

                  a.     a request for a specific number of hours for their trial presentations, as well

as a requested number of days, based on the assumption that in a typical jury trial day (in which

there is not jury selection, jury instruction, or deliberations), there will be 5 ½ to 6 ½ hours of trial

time, and in a typical bench trial day there will be 6 to 7 hours of trial time;

                  b.     their position as to whether the Court should allow objections to efforts to

impeach a witness with prior testimony, including objections based on lack of completeness and/or

lack of inconsistency;

                  c.     their position as to whether the Court should rule at trial on objections to

expert testimony as beyond the scope of prior expert disclosures, taking time from the parties’ trial

presentation to argue and decide such objections, or defer ruling on all such objections unless

renewed in writing following trial, subject to the proviso that a party prevailing on such a post-

trial objection will be entitled to have all of its costs associated with a new trial paid for by the

party that elicited the improper expert testimony at the earlier trial; and

                  d.     their position as to how to make motions for judgment as a matter of law,

whether it be immediately at the appropriate point during trial or at a subsequent break, whether




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the jury should be in or out of the courtroom, and whether such motions may be supplemented in

writing.

       20.     Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each SIDE shall be

limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine

request and any response shall contain the authorities relied upon; each in limine request may be

supported by a maximum of three (3) pages of argument and may be opposed by a maximum of

three (3) pages of argument, and the side making the in limine request may add a maximum of one

(1) additional page in reply in support of its request. If more than one party is supporting or

opposing an in limine request, such support or opposition shall be combined in a single three (3)

page submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered

by the Court. No separate briefing shall be submitted on in limine requests, unless otherwise

permitted by the Court.

       21.     Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be tried

to a jury, pursuant to Local Rules 47 and 51 the parties should file (i) proposed voir dire, (ii)

preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms three (3)

business days before the final pretrial conference. This submission shall be accompanied by a

courtesy copy containing electronic files of these documents, in WordPerfect or Microsoft Word

format, which may be submitted by e-mail to Judge Stark’s staff.

       22.     Trial. This matter is scheduled for a 7 to 10 day trial beginning at 9:30 a.m. on July

____, 2018, with the subsequent trial days beginning at 9:00 a.m. Until the case is submitted to the

jury for deliberations, the jury will be excused each day at 4:30 p.m. The trial will be timed, as

counsel will be allocated a total number of hours in which to present their respective cases.




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         23.    Judgment on Verdict and Post-Trial Status Report. Within seven (7) days after a

jury returns a verdict in any portion of a jury trial, the parties shall jointly submit a form of order

to enter judgment on the verdict. At the same time, the parties shall submit a joint status report,

indicating among other things how the case should proceed and listing any post-trial motions each

party intends to file.

         24.    Post-Trial Motions. Unless otherwise ordered by the Court, all SIDES are limited

to a maximum of 20 pages of opening briefs, 20 pages of answering briefs, and 10 pages of reply

briefs relating to any post-trial motions filed by that side, no matter how many such motions are

filed.



                                                   _________________________________
                                                   UNITED STATES DISTRICT JUDGE




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